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. 12![13] Judgmant in a Crimina| Caae \_)

Judgment-T-'age l ofS

United States District Court
Eastern Distriet of i\/Iichigan

United Statcs of Amcrica J UDGMEN '1` lN A CRIMINAL CASE
V.
Airnire Aii Berro Case Numbct: 04CR8()37U-17

USM Ntlrnber: 39621-039

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Nichoias J. Vcnditteiii

Del`endant's Atlumey

.|AN 2 4 2007
'l`HE DEFENDANT: CLEHK,S GFHCE
Pleaded guilty to count(s): 535. U'SASLS;§:;J(;nC-??IL|JW
Thc defendant is adjudicated guilty of these offenses.'
Titlc & Scction Nature of Ofl`ense Offcnsc Ended Count
18 [J.S.C. 1344 Banlt Fraud til/2004 53s

Thc defendant is sentenced as provided in pages 2 through 5 of` this judgment This sentence is imposed pursuant to the
Sentencing Reform Act of 1934

ll is ordered that the defendant must notify the United States attorney for this district within 30 days of any change ofnanie,
rcsidence, or mailing address until all fines1 restitution, costs, and special assessments imposed by this judgment are fully paid.
ll` ordered to pay restitution1 the defendant must notify the court and United States attorney of material changes in economic

circumstances

_ianuat_v 23, 2007
Dl ' of imposition of.]udgmcnt

 

United States District lodge

_//Qz//Ma)_

Date Signed

 

 

    
   
 

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Judgment-Page 2 ot'5

EFENDANT: Ainiire Ali Bcrro
CASF. NUMBER: O4CR80370-17

IMPRISONMEN T

The defendant is hereby committed to the custody of the United Statcs Bureau of Prisons to be imprisoned ‘l`or a total term cf: 1
day with time servcd.

RETURN

l have executed thisjudgment as follows:

Defendant delivered on _v to

, with a certified copy of this judgment

 

 

Unitcd States hdarshal

 

Deputy Unitcd States Marshal

 

    
   
 

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Judg'mcnt-Pagc 3 of5
EFENDANT: Almire Ali Berro
CASE NUMBER: 04CR80370-l 7
PROBATION
'l`he defendant is hereby sentenced to probation for a term of: 3 years_.
The defendant shall not commit another fcdcral:l state or local erime.
If the defendant is convicted cfa felony offense, DNA collection is required by Public Law 103»405.

The defendant shall not unlawfully possess a controlled substance The defendant shall refrain from any unlawful use cfa
controlled substance The defendant shall submit to one drug test within 15 days o|`placement on probation and at least two
periodic drug tests thereaftcr, as determined by the court. Revocation ofProbation is mandatory for possession cfa controlled
substance

l The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
substance abuse.

If this judgment imposes a fine or rcstitution, it is a condition of supervised release that the defendant pay in accordance with
the Sehedule of Payments sheet of this judgment

Thc defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the att.ached page.

STANDAR]) CONDI'I`IONS UF SUF.ERVIS]ON
1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2} the defendant shall report ot the probation officer and shall submit a truthful and complete written report within the first
five days ofeach month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
officer;

4) the defendant shall supoort his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
or other acceptable reasons;

ti) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

‘7) the defendant shall refrain from excessive usc ofa|cohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

3) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
convicted of a felony, unless granted permission to do so by the probation oft`ieer;

10) the defendant shall pemiit a probation officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent ofa law enforcement agency
without the permission of the court;

13) as directed by thc probation ofl`lcer, the defendant shall notify third parties of risks that may be occasioned by tlie
defendant's crminal record or personal history or characteristics and shall permit the probation officer to make such
notifications and to confirm the defendants compliance with such notification requirement; and

14_) the defendant shall not possess a fircann, ammunition, destructive device, or any other dangerous weapon. Revocation of
supervised release is mandatory for possession of a tireami.

 

   
  
   
 

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Judgmcnt-Page 4 of 5

EFENDANT: Alinire Ali Berrc
CASE N`UMBER: O4CRBO370-17

SPECIAL CONDITIONS UF SUPERVISION UNI)ER PROBATION

’l`hc defendant shall make monthly installment payments on any remaining balance of the special assessment at a rate and
schedule recommended by the Pi'obation Department and approved by the Court.

The defendant shall not incur any new credit charges or open additional lines of credit Witliout the approval of the probation
officer

The defendant shall provide the probation officer access to any requested financial information

 

   
 
 
 
 
 

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EP`ENDAN'I`: Almire Ali Berro
(JASE N`UMBER: O4CR80370-l 7

CR]MINAL MONETARY PENALTIES

Ass.cssmcnt Finc Resti_tutlon
TO'|`ALS: $ 100.00 $ 0.00 ii U.t)U

lt`the defendant makes a partial payment1 each payee shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i], all nonfederal
victims must be paid before the limited States is paid.

Name of Payee Total Los_s* Restitution Priority or
Drdered Fereentage

TO'|`ALS: $ 0.0U 3 0.00

* F'liidings for the total amount of` losses are required under Chaptei's lU‘)A, l lf), l lt)A, and l l?lA ofTitle 18 for offenses committed on or
alter Septeii'iber 13, l994. but before April 23, l99b.

 

 

